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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Demetrius Johnson
                                   Plaintiff,
v.                                                      Case No.: 1:20−cv−04156
                                                        Honorable Sara L. Ellis
Reynaldo Guevara, et al.
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, August 23, 2022:


        MINUTE entry before the Honorable Sara L. Ellis: Telephone motion hearing held
on 8/23/2022. Plaintiff's motion for leave to file partial motion for summary judgment
[164] is denied without prejudice. Mailed notice(rj, )




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